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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20129

 SCOTT WILLIAM SUTHERLAND,

               Defendant.
                                                  /

                 ORDER DENYING MOTION TO DISMISS INDICTMENT

        Before the court is a motion to dismiss the indictment, filed by Defendant Scott

 William Sutherland on May 16, 2014 (Dkt. # 759). Sutherland maintains that the Double

 Jeopardy Clause of the Fifth Amendment of the United States Constitution mandates

 that his guilty plea to Count One of the First Superseding Indictment, charging him with

 as a felon in possession in violation of 18 U.S.C. § 922(g)(1), precludes his trial on

 Counts One and Three of the instant Third Superseding Indictment, charging him with

 Racketeer Influenced Corrupt Organization Conspiracy in violation of 18 U.S.C. §

 1962(d) and Conspiracy to Manufacture, Distribute, and Possess with Intent to

 Distribute Controlled Substances in violation of 21 U.S.C. §§ 841, 846(a)(1). Sutherland

 also claims that the Government impermissibly obtained the Third Superseding

 Indictment as retaliation for Sutherland’s refusal to cooperate against other members to

 be indicted as part of the Devils Diciples Motorcycle Club. Having reviewed the briefs,

 the court concludes a hearing is unnecessary. See E.D. Mich. LR 7.1(f)(2).

 Sutherland’s arguments are without merit and will be denied.
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                                 I. DOUBLE JEOPARDY

       The Fifth Amendment ensures that no “person be subject for the same offence to

 be twice put in jeopardy of life or limb.” U.S. Const. amend. V. The test for whether a

 double jeopardy bars successive prosecutions is the “same-elements” test, known as

 the Blockberger test, states that “where the two offenses for which the defendant is

 punished or tried cannot survive the “same-elements” test, the double jeopardy bar

 applies.” United States v. Dixon, 509 U.S. 688, 696 (1993) citing Brown v Ohio, 432

 U.S. 161, 168-69 (1977); Blockburger v. United States, 284 U.S. 299, 304 (1932). The

 “test inquires whether each offense contains an element not contained in the other; if

 not, they are the “same offence” and double jeopardy bars additional punishment and

 successive prosecution.” Id. “The Double Jeopardy Clause is not violated merely

 because the same evidence is used to establish more than one statutory violation if

 discrete elements must be proved in order to make out a violation of each statute.”

 United States v. DeCarlo, 434 F.3d 447, 455-56 (6th Cir. 2006).

       Sutherland relies heavily on Grady v. Corbin, 495 U.S. 508 (1990), overruled by

 Dixon, supra, for the proposition that “to establish an essential element of an offense

 charged that prosecution, the government will prove conduct that constitutes an offense

 for which the defendant has already been prosecuted. Id. at 511. Sutherland fails to

 note that Dixon explicitly overruled Grady. See Dixon, 509 U.S. at 703 (“We have

 concluded, however, that Grady must be overruled.”). Dixon unambiguously reinforces

 the law Sutherland attempts to avoid; the same-conduct test applies.

       It is not surprising that Sutherland seeks to find a way around the Blockburger

 test, for it is clear that Count One of the First Superseding Indictment and Counts One


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 and Three of the Third Superseding Indictment pass the same-conduct test with flying

 colors. To obtain a § 922(g)(1) conviction, the Government must prove that (1) the

 defendant has been convicted of a crime punishable by imprisonment for more than one

 year; (2) the defendant, following his conviction, knowingly possessed a firearm and

 ammunition specified in the indictment; and (3) the firearm and ammunition were

 manufactured in a state other than Michigan. On the other hand, a § 1962(d) conviction

 requires proof of (1) an enterprise; (2) its effect on interstate commerce; (3) a

 conspirator was associated with the enterprise; (4) a conspirator conducted the affairs

 of the enterprise; and (5) a conspirator’s participation in the conduct of the affairs of the

 enterprise through a pattern of racketeering activity. For each offense the Government

 must prove elements not contained in the other. The overt acts mentioned in the

 indictment, of which Sutherland’s firearm possession is one, are not elements of the

 RICO conviction. As such, Sutherland’s double jeopardy claim fails.1

                         II. PROSECUTORIAL VINDICTIVENESS

        A prosecutor may not use criminal charges to penalize a defendant’s exercise of

 constitutional rights. Blackledge v. Perry, 417 U.S. 21-28 (1974). A defendant must

 show actual vindictiveness or a sufficient factual basis to raise a presumption of

 vindictiveness. United States v. Goodwin, 457 U.S. 368, 373 (1982). Sutherland’s

 brings forward no evidence of actual vindictiveness, so he must rely on the

 presumption.




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        It is unclear whether Sutherland is also challenging Count Three, which clearly
 passes the Blockburger test as well.

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         In order to establish a presumption of an intent to punish a defendant for the

 exercise of a protected right, a defendant must show that there has been “(1) exercise

 of a protected right; (2) a prosecutorial stake in the exercise of that right; and (3)

 unreasonableness of the prosecutor’s conduct.” United States v. Suarez, 263 F.3d 468,

 479 (6th Cir. 2001). A court performing a vindictive prosecution analysis “must assess

 the fact situation before it to see if the [vindictiveness] standard is met . . . . Each

 situation will necessarily turn on its own facts.” United States v. LaDeau, 734 F.3d 561,

 567 (6th Cir. 2013) (internal quotation marks omitted) (alteration and omission in

 original). “[T]he Due Process Clause is not offended by all possibilities of increased

 punishmentbut only by those that pose a realistic likelihood of ‘vindictiveness.’ ” United

 States v. Poole, 407 F.3d 767, 774 (6th Cir. 2005) (quoting Blackledge v. Perry, 417

 U.S. 21, 27 (1974)).

        Whether the “right not to cooperate” is a protected right appears to be an open

 question in this circuit. The circuits that have addressed the issue have concluded that it

 is not. See, e.g., United States v. Williams, 47 F.3d 658, 662 (4th Cir. 1995) (“Although

 a defendant has the right not to cooperate, a prosecutor may pressure a defendant to

 waive that right by threatening a more severe indictment. The right not to cooperate is

 certainly no more important than the right of an accused to a trial, and yet the Supreme

 Court has allowed prosecutors, during plea negotiations, to use the threat of a harsher

 indictment to pressure a defendant to plead guilty and thus waive his right to trial.”);

 United States v. Long, 823 F.2d 1209, 2011 (7th Cir. 1987) (noting that “the government

 may penalize . . . a refusal [to cooperate]). Sutherland complains that these cases

 arose in the context of plea bargain negotiations. But the situations are analytically


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 identical. Williams and Long both authorize the Government to use the threat of

 prosecution to encourage cooperation. There is no reason why the existence of a

 pending charge should alter that analysis.

       In any event, assuming arguendo, that the right not to cooperate is a protected

 right, the court finds the circumstances behind the Third Superseding Indictment reveal

 that the Government’s conduct was not unreasonable. “[T]he mere presence of a

 superseding indictment bringing additional charges is not sufficient to be presumptively

 unreasonable. Generally, a potentially vindictive superseding indictment must add

 additional charges or substitute more severe charges based on the same conduct

 charged less heavily in the first indictment. Where, by contrast, there were multiple

 criminal acts, the addition of further charges is more reasonable.” Suarez, 263 F.3d at

 480. Here, the Third Superseding Indictment does not simply attempt to ratchet up

 Sutherland’s charges based on his felon in possession violation. Instead, it covered a

 wide range of criminal conduct occurring over the course of several years.

                                    III. CONCLUSION

       Accordingly, IT IS ORDERED that the motion to dismiss (Dkt. # 759) is DENIED.



                                          s/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

 Dated: October 17, 2014




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 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, October 17, 2014, by electronic and/or ordinary mail.

                                                                     s/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




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